Case 6:17-cv-00178-RBD-KRS Document 19 Filed 08/03/17 Page 1 of 1 PageID 92


                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

NORMAN CHICOINE,

                     Plaintiff,
v.                                                       Case No: 6:17-cv-178-Orl-37KRS

BLUESTEM BRANDS, INC.,

                     Defendant.


                     ORDER OF DISMISSAL WITH PREJUDICE

       This cause is before the Court upon the Notice of Settlement filed August 3, 2017

(Doc 18) indicating that this case has settled. Accordingly, it is:

       ORDERED AND ADJUDGED:

       That the above-styled cause is hereby DISMISSED WITH PREJUDICE, subject

to the right of any party to move the Court within sixty (60) days thereafter for the

purpose of entering a stipulated form of final order or judgment; or, on good cause

shown, to reopen the case for further proceedings. All pending motions are denied as

moot and all deadlines are terminated.

       The Clerk is hereby ordered to close this file.

       DONE AND ORDERED at Orlando, Florida this 3rd day of August, 2017.




Copies:       Counsel of Record
